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LAW OFFICES OF

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October 13, 2021

VIA ECF

Hon. Diane Gujarati

United States District Judge
United States District Court
Bastern District of New York
225 Cadman Plaza East
Courtroom 4B South

Brooklyn, New York 11201

Re: Aaron Ross v. Universal Health Services, Inc., et al.
Case No.: 1:21-cv-4424

Dear Judge Gujarati:

This office represents the Plaintiff, Aaron Ross), in the
above-referenced matter. Pursuant to Your Honor’s Order dated
October 12, 2021, Plaintiff seeks leave to amend the complaint
and requests thirty (30) days to do so.

Respectfully submitted,

LAW SO 1 OF DANIEL W. ISAACS, PLLC

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cc: Lewis Brisbois Bisgaard & Smith LLP
